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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

 UNITED STATES OF AMERICA                                                            PLAINTIFF

 V.                                 CASE NO. 4:17-CR-00293-BSM

 MARCUS O. MILLSAP                                                                 DEFENDANT


      MOTION FOR EXTENSION OF TIME TO FILE EX PARTE PRIVILEGE LOG


       Comes now the Defendant, Marcus O. Millsap, by and through his undersigned attorney,

and for his Motion for Extension of Time to File Ex Parte Privilege Log, states as follows:

       1.      On October 14, 2022, the Court ordered the issuance of a subpoena duces tecum to

Sharon Carr. See Doc. # 2625. The Court further ordered Ms. Carr to deliver responsive documents

to chambers and the undersigned counsel, and further ordered the undersigned counsel to file

within ten days of receipt of said documents an ex parte privilege log that details the basis of the

claimed privilege for each document or communication in question, along with an explanatory

affidavit of counsel.

       2.      Ms. Carr delivered the documents to the Court and the undersigned counsel on

October 31, 2022, making the privilege log due November 10, 2022.

       3.      Some documents returned in response to the subpoena include potentially

privileged communications between Ms. Carr and another attorney. An extension of time is

necessary for undersigned counsel to contact said attorney and, if necessary, to obtain an

explanatory affidavit from said attorney supporting the basis of the privilege claimed.
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       4.      Defendant Marcus Millsap respectfully requests that the Court grant him an

extension of time until Monday, November 14, 2022, to submit his ex parte privilege log and

explanatory affidavits of counsel.

       5.      Undersigned counsel has conferred with Assistant U.S. Attorney Stephanie

Mazzanti, who has advised that she has no objection to the requested extension.

       WHEREFORE, Defendant Marcus O. Millsap respectfully requests that his Motion be

granted in all respects, that the Court enter an Order extending time for Defendant to file his ex

parte privilege log and explanatory affidavits of counsel until Monday, November 14, 2022, and

for all other proper relief to which he may be entitled.

                                          RESPECTFULLY SUBMITTED,

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